






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00322-CR





	

John Melton, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 26TH JUDICIAL DISTRICT


NO. 97-921-K26, HONORABLE BILLY RAY STUBBLEFIELD, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



In April 2003, John Melton was convicted of aggravated assault.  On May 11, 2007,
Melton filed a pro se notice of appeal.  The  notice of appeal is not timely and does not invoke the
Court's jurisdiction.  See Tex. R. App. P. 26.2(a); Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App.
1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).  In any event, the conviction
was previously affirmed on appeal.  Melton v. State, No. 03-03-00258-CR (Tex.&nbsp;App.--Austin
Oct.&nbsp;23, 2003, no pet.).  The appeal is dismissed.


				___________________________________________

				Diane Henson, Justice

Before Chief Justice Law, Justices Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   July 31, 2007

Do Not Publish


